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Andrew Frisch

From: -Paulsen, Erik (USANYE) <Erik.Paulsen@usdoj.gov>
Sent: Friday, March 10, 2023 9:11 AM

To: Andrew Frisch

Subject: RE: Stipulations

Sounds good.

Micro is this AM—everything got a bit backed up.

We still don’t have the conference to discuss the voir dire. I assumed that would be before Monday. I was
inclined toward calling Reyes’ chambers.

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From: Andrew Frisch <afrisch@andrewfrisch.com>
Sent: Friday, March 10, 2023 9:08 AM

To: Paulsen, Erik (USANYE) <EPaulsen@usa.doj.gov>
Subject: [EXTERNAL] RE: Stipulations

| am looking at these rn. Will reach out in a bit. Let’s talk about the Dvorsky thing before | put pen to paper. Also |
assume Micro 3500 is imminent?
